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                                    UNITED STATES DISTRICT COURT 
                                       DISTRICT OF MINNESOTA 
     

    GENERAL MILLS, INC.                                        Case No. 19‐CV‐258 (NEB/DTS) 
                                                                              
                                       Plaintiff,                             
                                                                              
    v.                                                             ORDER TO REMAND 
     
    RETROBRANDS USA, LLC, and 
    JEFFREY L. KAPLAN, 
     
                                       Defendants. 
     

                                                                              
 
           This case involves an alleged breach of a settlement agreement. Plaintiff General 

Mills, Inc. (“General Mills”) requests that this Court remand this case to state court. The 

Defendants  contend  that  remand  is  inappropriate  because  there  is  federal‐question 

jurisdiction under the Lanham Act. Because this case involves only state law breach‐of‐

contract claims, the Court orders this case to be remanded to Minnesota state court.  

                                                      BACKGROUND 

           General Mills sued the Defendants in Minnesota state court. [ECF No. 1‐1.] The 

complaint alleges that Jeffrey L. Kaplan breached a settlement agreement dated July 13, 

2009.  (Id.  ¶  1.)  The  agreement  settled  an  ongoing  trademark  dispute  between  General 

Mills’ subsidiary, The Pillsbury Company, LLC, and the Defendants. (Id. ¶ 9.) According 

to  the  complaint,  the  Defendants  “breached  the  Settlement  Agreement  by  filing  an 
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application for the mark DUNKAROOS for ‘cereal‐based snack foods’ with the USPTO 

under Serial No. 88/119,368.” (Id. ¶ 17.) 

              The  Defendants  removed  the  case  to  federal  court.  [ECF  No.  1.]  This  Court 

indicated in an order that it had concerns about whether it had subject‐matter jurisdiction 

over  the  case  and  requested  the  parties  either  stipulate  to  remand  or  brief  the  issues 

pursuant to a briefing schedule. [ECF No. 7.] The Defendants filed a Memorandum in 

Support of Removal [ECF No. 9] and General Mills filed a response, requesting the Court 

remand the case to state court. [ECF No. 11.]1 

                                                               ANALYSIS 

              This Court must make sure it has subject‐matter jurisdiction over this case. See 28 

U.S.C.  1447(c);  Bueford  v.  Resolution  Tr.  Corp.,  991  F.2d  481,  485  (8th  Cir.  1993).  It  may, 

therefore, raise the issue of subject‐matter jurisdiction sua sponte. Blueford, 991 F.2d at 485. 

The parties do not argue there is diversity between them, so this Court must determine 

whether federal‐question jurisdiction is present in this case. See Franchise Tax Bd. of State 

of Cal. v. Constr. Laborers Vacation Tr. for S. California, 463 U.S. 1, 8 (1983) (“For this case—

as  for  many  cases  where  there  is  no  diversity  of  citizenship  between  the  parties—the 

propriety of removal turns on whether the case falls within the original ‘federal question’ 

jurisdiction  of  the  United  States  district  courts.”)  Pursuant  to  28  U.S.C  §  1331,  “[t]he 



                                                            
 General Mills also requests this Court award it attorney fees. [ECF No. 11 at 1.] The 
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Court denies this request.  


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district courts shall have jurisdiction of all civil actions arising under the Constitution, 

laws,  or  treaties  of  the  United  States.”  “The  presence  or  absence  of  federal‐question 

jurisdiction is governed by the ‘well‐pleaded complaint rule,’ which provides that federal 

jurisdiction exists only when a federal question is presented on the face of the plaintiffʹs 

properly  pleaded  complaint.”  Caterpillar  Inc.  v.  Williams,  482  U.S.  386,  392  (1987).  The 

Supreme Court has made clear that “[t]he rule makes the plaintiff the master of the claim; 

he or she may avoid federal jurisdiction by exclusive reliance on state law.” Id.  

       To  determine  whether  a  “well‐pleaded  complaint”  establishes  federal‐question 

jurisdiction, courts must consider whether (1) “federal law creates the cause of action” or 

(2)  “the  plaintiff’s  right  to  relief  necessarily  depends  on  resolution  of  a  substantial 

question of federal law.” Franchise Tax Bd. 463 U.S. at 27–28. General Mills does not allege 

a federal cause of action in this case. Count I of the complaint alleges a state law breach 

of contract and Count II seeks a declaratory judgment under the Minnesota Declaration 

Judgment Act. [ECF No. 1‐1 ¶¶ 21–35.] Neither count qualifies as a federal cause of action. 

See Meyers v. Richland Cty., 429 F.3d 740 (8th Cir. 2005) (“Because an action to enforce a 

settlement agreement is a claim for breach of contract, it should be heard in state court 

unless it has ‘its own basis for jurisdiction.’”) (citing Kokkonen v. Guardian Life Insurance 

Co. of Am., 511 U.S. 375, 377 (1994)). The Defendants argue that General Mills has pled 

trademark infringement under the Lanham Act in the complaint, but the complaint does 

not allege trademark infringement as a cause of action. [ECF No 9 at 4.] Rather, it alleges 



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the Defendants breached the settlement agreement through trademark infringement. The 

complaint, therefore, only raises state law claims. As a result, General Mills has not raised 

a federal cause of action in the complaint and this Court lacks subject‐matter jurisdiction 

over this case.2  

              The Defendants also argue that General Mills has sought remedies exclusive to the 

Lanham Act in the complaint. (Id. at 5.) However, General Mills merely seeks damages 

for  losses  it  incurred  as  the  result  of  the  Defendants’  alleged  breach  of  the  settlement 

agreement. “[T]he appropriate measure of damages for breach of contract is that amount 

which will place the plaintiff in the same situation as if the contract had been performed.” 

Peters v. Mut. Ben. Life Ins. Co., 420 N.W.2d 908, 915 (Minn. Ct. App. 1988). And courts 

may  award  specific  performance  under  certain  circumstances.  Saliterman  v.  Bigos,  352 

N.W.2d  494,  496  (Minn.  Ct.  App.  1984).  The  Court  need  not  assess  the  validity  of  the 

damages requested at this point in the litigation—it is enough to determine whether the 


                                                            
2 Courts have routinely come to the same result in similar cases. See, e.g., Gibraltar, P.R., 
Inc.  v.  Otoki  Grp.,  Inc.,  104  F.3d  616,  619  (4th  Cir.  1997)  (affirming  the  district  court’s 
dismissal  of  case  for  lack  of  subject‐matter  jurisdiction  because  “[r]esolution  [did]  not 
depend on the Lanham Act or any other federal law, but rather upon the construction of 
the  contract  under  Puerto  Rican  law.”);  Intʹl  Armor  &  Limousine  Co.  v.  Moloney 
Coachbuilders, Inc., 272 F.3d 912, 914 (7th Cir. 2001) (finding no subject‐matter jurisdiction 
because case was ultimately a contract dispute even though “the contracts . . . are about 
trademarks, so a claim under the Lanham Act may be derivative of the rights conferred.”); 
Lovell v. Bad Ass Coffee Co. of Hawaii, 103 F. Supp. 2d 1233, 1239 (D. Haw. 2000) (finding 
no  federal  question  under  the  Lanham  Act  because  the  plaintiffs  “claim[ed]  that  their 
right to utilize the mark is based on a contract and/or a license.”).



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damages requested arise from a federal or state cause of action. General Mills asks the 

presiding  court,  among  other  things,  to  “[e]nter  an  order  requiring  Defendants  to 

specifically  perform  their  obligations  under  the  Settlement  Agreement,  including 

withdrawing their application for the DUNKAROOS trademark and the DUNKAROOs 

Cancellation action” and “[a]ward[] General Mills damages . . . consisting of the legal fees 

and costs it has incurred and will incur to defend the DUNKAROOS Cancellation action.” 

[ECF No. 1‐1 at 11.] The requested relief would merely put General Mills in the position 

it  would  have  been  in  if  the  Defendants  had  not  allegedly  breached  the  settlement 

agreement by interfering with General Mills’ trademark. These damages flow from the 

alleged state cause of action for breach of contract. As a result, General Mills’ requested 

damages  do  not  change  the  Court’s  determination  of  whether  it  has  subject‐matter 

jurisdiction over this case.   

       And no exceptions to the well‐pleaded‐complaint rule apply here. The Supreme 

Court has held that a federal court may have jurisdiction over a settlement agreement 

when “the parties’ obligation to comply with the terms of the settlement agreement had 

been  made  part  of  the  order  of  dismissal—either  by  separate  provision  (such  as  a 

provision ‘retaining jurisdiction’ over the settlement agreement) or by incorporating the 

terms of the settlement agreement in the order.” Kokkonen, 511 U.S at 381. The Court in 

Kokkonen found that neither circumstance was present, and thus federal courts had no 

ancillary jurisdiction over disputes arising from the settlement agreement. Id. There is no 



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evidence before  this Court that  either of  those circumstances has  occurred in this  case 

either. This case, like Kokkonen, must therefore be remanded to state court.   

       Additionally, this case does not depend on the resolution of a substantial issue of 

federal law. The Supreme Court has held that: 

             [F]ederal jurisdiction over a state law claim will lie if a federal 
             issue  is:  (1)  necessarily  raised,  (2)  actually  disputed,  (3) 
             substantial,  and  (4)  capable  of  resolution  in  federal  court 
             without  disrupting  the  federal‐state  balance  approved  by 
             Congress. Where all four of these requirements are met, we 
             held, jurisdiction is proper because there is a ‘serious federal 
             interest in claiming the advantages thought to be inherent in 
             a federal forum,’ which can be vindicated without disrupting 
             Congressʹs  intended  division  of  labor  between  state  and 
             federal courts. 
              
Gunn v. Minton, 568 U.S. 251, 258 (2013) (citing Grable & Sons Metal Products, Inc. v. Darue 

Engineering  &  Mfg.,  545  U.S.  308,  313–14  (2005).  It  is  a  “special  and  small  category”  of 

cases that meet these factors. Id. (citation omitted). The Supreme Court confronted a case 

similar  to  this  one  in  Gunn,  where  the  plaintiff  sued  his  attorney  for  committing 

malpractice in a patent case for failing to argue an experimental‐use exception. 568 U.S at 

253. The Supreme Court held that federal patent law may be necessary to the plaintiff’s 

case  because  the  district  court  had  to  use  patent  law  to  understand  if  the  attorney 

breached  a  duty.  Id.  at  259.  The  Court  also  held  that  whether  the  experimental‐use 

exception applied was “actually disputed,” but that the plaintiff’s arguments failed the 

third  and  fourth  factors—whether  the  federal  issue  was  “substantial”  and  “capable  of 

resolution  in  federal  court  without  disrupting  the  federal‐state  balance  approved  by 


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Congress.” Id. The Court determined that the federal issue was not substantial because 

“it will not change the real‐world result of the prior federal patent litigation,” nor would 

it “undermine the development of a uniform body of [patent] law.” Id. at 261 (internal 

quotation  marks  and  citation  omitted).  Finally,  the  Gunn  Court  also  determined  that 

allowing  a  state  court  to  determine  the  case  would  not  upset  the  balance  of  state  and 

federal judicial responsibilities. Id. at 264.  

              The  same  analysis  applies  here.  The  Defendants  argue  “to  the  extent  that  the 

underlying question is the significance of Retrobrands’ registration (and not use) of the 

DUNKAROOS intent‐to‐use mark, that is a federal question and federal question alone.” 

[ECF No. 9 at 6.] The Defendants are correct that whether they breached the agreement 

may  require  some  interpretation  of  federal  trademark  law.  However,  such  analysis 

would go only to whether the Defendants breached a contract—fundamentally, a state 

law  dispute.  Whether  the  Defendants  breached  the  agreement  does  not  affect  the 

underlying prior trademark dispute, nor does it implicate any substantial federal issue 

that could impact other cases.3 Just as patent law in Gunn applied only to whether the 

attorney  committed  malpractice,  trademark  law  here  would  be  implicated  only  to 



                                                            
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      The  Defendants  argue  that  “the  original  proceeding  in  this  matter  is  Retrobrands’ 
cancellation action, not the state court action.” [ECF No. 9 at 5.] However, the Defendants 
give no reasoning for this assertion. General Mills filed a complaint in Minnesota state 
court for breach of contract. And it was that state court complaint that was removed to 
federal court. The fact that the Defendants have also filed a cancellation action does not 
change the nature of this suit.  


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determine  whether  the  Defendants  breached  the  settlement  agreement.  It  would  not 

impact the body of case law under the Lanham Act nor impact the disposition of future 

trademark cases. This case therefore does not fall in the “special and small category” of 

cases that, despite alleging state law causes of action, raise a substantial issue of federal 

law. As a result, there is no federal‐question jurisdiction in this case and the Court must 

remand it to state court.  

                                        CONCLUSION 

       Based  on  the  foregoing  and  on  all  the  files,  records,  and  proceedings  herein, 

General  Mills’  request  for  remand  [ECF  No.  11]  is  GRANTED  and  IT  IS  HEREBY 

ORDERED that this case be remanded to state court.  

 
Dated: April 12, 2019                                      BY THE COURT: 
 
                                                     s/Nancy E. Brasel                   
                                                     Nancy E. Brasel 
                                                     United States District Judge 




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